              Case 8:22-cr-00308-DLB Document 1-1 Filed 08/24/21 Page 1 of 7



EBP/RRR: USAO 2021R00509                                                              Aug 24, 2021

                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND                                    MD


 UNITED STATES OF AMERICA                         *
                                                  *
          v.                                      *        CASE NO. GLS-21-2249
                                                  *
 SHERRIE LYNNE BRYANT,                            *        FILED UNDER SEAL
                                                  *
                    Defendant                     *
                                                  *
                                               *******

  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

         Your Affiant, Joshua C. Barnhart being first duly sworn, deposes and states as follows:

                                         INTRODUCTION

         1.       I am a Special Agent with the Internal Revenue Service, Criminal Investigation

(“IRS-CI”), United States Department of Treasury.           I have been employed by IRS-CI for

approximately three years, during which time I have been assigned to the Washington, D.C Field

Office. Prior to working at IRS-CI, I was a Special Agent with the Treasury Inspector General for

Tax Administration (“TIGTA”) for three years, where I was assigned to the Procurement Fraud

Division.      I have received instruction and training, along with investigative experience, in

investigation of criminal violations of Titles 26, 18 and 31 of the United States Code (“USC”), to

include fraud-related offenses, tax fraud, money laundering, contract fraud, and Bank Secrecy Act

violations.

         2.       I have personally participated in this investigation and have witnessed many of the

facts and circumstances described herein. I have also received information from other law

enforcement officers relating to this investigation. The information set forth in this affidavit is

based on my own observations and review of documents or reliable information provided to me
            Case 8:22-cr-00308-DLB Document 1-1 Filed 08/24/21 Page 2 of 7



by other law enforcement personnel. Unless otherwise indicated, all written and oral statements

referred to herein are set forth in substance and in part, rather than verbatim. I have set forth only

those facts that I believe are necessary to establish probable cause. I have not, however, excluded

any information known that would defeat a determination of probable cause.

       3.       This affidavit is being submitted in support of a criminal complaint and arrest

warrant for SHERRIE LYNNE BRYANT (“BRYANT”). Based on the facts set forth in this

affidavit, I submit that there is probable cause to believe that, on or about March 30, 2020 and on

or about April 25, 2020, BRYANT committed violations of 18 U.S.C. § 1343 (wire fraud) and 18

U.S.C. § 1001 (false statements).

                                         BACKGROUND

       I.       The Economic Injury Disaster Loan Program

       4.       The Economic Injury Disaster Loan (“EIDL”) program is a disaster relief program

administered by the Small Business Administration (“SBA”) that predates the COVID-19

pandemic. Small business owners and non-profit organizations in all U.S. states, the District of

Columbia, and U.S. territories can apply for an EIDL. EIDLs are designed to provide economic

relief to businesses that are currently experiencing a temporary loss of revenue due to a disaster.

EIDL provides loan assistance, including up to $10,000 advances, for eligible entities. The EIDL

proceeds can be used to pay fixed debts, payroll, accounts payable and other bills that could have

been paid had the disaster not occurred; however, such loan proceeds are not intended to replace

lost sales or profits or for expansion of a business. Unlike certain other types of SBA-guaranteed

loans, EIDL funds are issued directly from the United States Treasury and applicants apply through

the SBA via an online portal and application.




                                                  2
            Case 8:22-cr-00308-DLB Document 1-1 Filed 08/24/21 Page 3 of 7



       5.       The EIDL application process, which also uses certain outside contractors for

system support, collects information concerning the business and the business owner, including

information as to the gross revenues for the business prior to January 31, 2020; the cost of goods

sold; and information as to any criminal history of the business owner. Applicants electronically

certify that the information provided is accurate and are warned that any false statement or

misrepresentation to SBA or any misapplication of loan proceeds may result in sanctions,

including criminal penalties.

       II.      Paycheck Protection Program

       6.       In March of 2020, Congress passed the Coronavirus Aid, Relief and Economic

Security (“CARES”) Act, of which the Paycheck Protection Program (“PPP”) was one component.

Through the PPP, Congress authorized the SBA to award forgivable loans to small businesses so

they could continue to pay salary and wages to their employees. In order to obtain PPP funding,

business owners must submit an application to a participating financial institution. The financial

institution then funds the PPP using their own money, which is guaranteed by the SBA.

       7.       Similar to the EIDL application process, the applicant seeking a PPP loan is

required to disclose to participating lenders, among other things, the applicant’s number of

employees and average payroll expenses as well as the criminal history of the owners of the entity.

Further, the applicant must certify that the information is correct subject to criminal and civil

penalties and that they will use the proceeds “to retain workers and maintain payroll, make

mortgage interest payments, lease payments, and utility payments.”

                                     PROBABLE CAUSE

       8.       BRYANT is a managing member of NOW LLC, which was organized in the State

of Maryland on September 5, 2013, with BRYANT as the sole managing member. On October



                                                3
            Case 8:22-cr-00308-DLB Document 1-1 Filed 08/24/21 Page 4 of 7



16, 2014, Individual 1 was added as a second managing member. NOW LLC stated their business

purpose was to “provide mentoring, education and training to underserved populations. Also, to

provide vocational rehabilitation and mental health support services to: children, youth and

adults.”

       9.       Contrary to their stated business purpose, NOW LLC has been awarded contracts

for “janitorial services” for Amtrak at New Carrollton, Maryland and Baltimore Washington

International Airport (BWI) Amtrak station. They have applied for multiple SBA loans through

various programs and cited their line of business as “construction contractors.” Numerous checks

from NOW LLC’s operating account indicate they may be outsourcing janitorial work to sub-

contractors.

       10.      BRYANT, as owner of NOW LLC, submitted at least four applications to the SBA

for disaster-related loans. On March 30, 2020, BRYANT submitted an EIDL loan application for

$89,500 using the SBA web portal. In the EIDL loan application, BRYANT stated that NOW

LLC earned approximately $475,610 in gross revenues during the twelve months prior to January

31, 2020. BRYANT further stated that NOW LLC incurred cost of goods sold of $276,614 during

the same period. BRYANT listed NOW LLC’s business address as an address in Lanham,

Maryland. BRYANT listed herself as the sole owner of NOW LLC. The loan was authorized on

May 9, 2020, and deposited on May 12, 2020 into the Capital One bank account owned by NOW

LLC.

       11.      SBA EIDL loan applications are received in a cloud-based platform through a

server located in Des Moines, Iowa. Once the application is approved, EIDL disbursement

payments are initiated by the SBA Denver Finance Center, in Denver, Colorado, which transmits

the payment information through the Financial Management System (“FMS”) to the Treasury.



                                               4
         Case 8:22-cr-00308-DLB Document 1-1 Filed 08/24/21 Page 5 of 7



The primary server for FMS is in Sterling, Virginia. On March 30, 2020, BRYANT submitted

her loan application using an IP address ending in ef23, which was located in Upper Marlboro,

Maryland.

       12.     Law enforcement has reviewed personal income tax returns from the IRS for

BRYANT, a Form 1065, Return of Partnership Income for NOW LLC for the 2018 tax year, and

payroll tax returns for January 1, 2018 to present. NOW LLC had not filed a partnership tax

return for the 2019 tax year. If NOW LLC earned the income detailed in BYRANT’s EIDL loan

application, that would result in a filing requirement for NOW LLC. Further, BRYANT indicated

on her Form 1040 US Individual Income Tax Return (“Form 1040”) that she had passive income

from NO OPPORTUNITY WASTED, using the same EIN listed for NOW LLC. The income

reported on BRYANT’s Form 1040 for 2019 from NO OPPORTUNITY WASTED is

inconsistent with the amount detailed in her loan application for NOW LLC. BRYANT reported

income of $69,524 from NO OPPORTUNITY WASTED during the 2019 tax year, although

there is no tax return on file for the partnership. BRYANT did not report any additional income

related to NOW LLC.

       13.     In the same EIDL application dated March 30, 2020, BRYANT made additional

misrepresentations to the SBA. On line number 61c, the application asks: “For any criminal

offense…have you ever been convicted, plead guilty, plead nolo contendere, been placed on

pretrial diversion, or been placed on any form of parole or probation.” BRYANT answered “No”

to this question. At the time BRYANT answered that question, however, she was on federal

probation after having plead guilty on May 20, 2019, in the U.S. District Court for the District of

Maryland to 18 U.S.C. § 1516 (Obstruction of a Federal Audit), a federal felony. See United States

v. Sherrie Lynn Bryant, Crim. No. PWG-17-518. On June 4, 2019, BRYANT was sentenced to



                                                5
         Case 8:22-cr-00308-DLB Document 1-1 Filed 08/24/21 Page 6 of 7



three years of probation. On November 24, 2020, BRYANT’s U.S. Probation Officer confirmed

that BRYANT was on probation when BRYANT applied for the EIDL loan on March 30, 2020.

       14.     Similar to her EIDL application, on April 25, 2020, BRYANT submitted an

application for PPP loan proceeds totaling $21,200 to Virginia National Bank. At that time,

BRYANT had been convicted of a federal felony and was on probation; yet, BRYANT answered

“No” to the question on her application regarding her criminal history. The question stated, “Is the

Applicant (if an individual) or any individual owning 20% or more of the equity of the Applicant

subject to an indictment, criminal information, arraignment, or other means by which formal

criminal charges are brought in any jurisdiction, or presently incarcerated, or on probation or

parole?” BRYANT responded “No” while she was the sole owner and on probation. The loan

proceeds were transferred to NOW LLC’s business bank account at Capital One on May 6, 2021.

       15.     In the same application, BRYANT was also asked, “within the last 5 years, for any

felony, has the Applicant . . . (1) been convicted; (2) pleaded guilty; (3) pleaded nolo contendere;

(4) been placed on pretrial diversion; or (5) been placed on any form of parole or probation

(including probation before judgment)?” Again, BRYANT responded “No.”

       16.     PPP loan applications submitted prior to August 8, 2020, were received through an

SBA server located in Sterling, Virginia. This server is also used by the PPP lenders to report

disbursements and to transmit the SBA processing fee from the SBA to the PPP lender. On April

28, 2020, BRYANT signed the loan application using an IP address ending 167.70, which was

located in Baltimore, Maryland.

       17.     On August 19, 2021, law enforcement conducted a consensual interview of

BRYANT. BRYANT confirmed that she had applied for and was granted several PPP and EIDL

loans. BRYANT was shown a copy of her PPP loan application that was submitted to Virginia



                                                 6
          Case 8:22-cr-00308-DLB Document 1-1 Filed 08/24/21 Page 7 of 7



National Bank. BRYANT confirmed that the information contained on the document was hers;

however, BRYANT provided no explanation as to why she attested that she had not been

previously convicted and was not on probation at the time she was awarded the loan. BRYANT

was also shown a copy of the EIDL loan application submitted to the SBA on March 30, 2020.

BRYANT again identified her information but did not offer an explanation as to why she attested

that she had not previously been convicted and was not on probation. BRYANT stated that she

qualified for the loan.

       18.     BRYANT stated she applied for and was granted two additional loans. BRYANT

received a PPP loan in March or April 2021 through First National Bank of Pennsylvania for a

total of approximately $100,000. BRYANT also stated that she applied for and was granted an

EIDL loan totaling approximately $389,000 in July 2021.

                                         CONCLUSION

       19.     Based on the facts set forth above, I respectfully submit that there is probable cause

to believe that, on or about March 30, 2020 and on or about April 25, 2020, BRYANT committed

violations of 18 U.S.C. §§ 1343 and 1001.


                                                      ________________________________
                                                      Joshua C Barnhart, Special Agent
                                                      Internal Revenue Service
                                                      Criminal Investigation
                                                      Department of Treasury


Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
Fed. R. Crim. P. 4.1 and 4(d) this ________
                                     24th day of August, 2021.


________________________________
Honorable Gina L. Simms
United States Magistrate Judge



                                                 7
